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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION


 CHERYL WEIMAR,

                        Plaintiff,

 v.                                                              Case No: 5:19-cv-548-Oc-41PRL

 FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER and
 RYAN DIONNE,

                        Defendants.
                                              /

                                              ORDER

        THIS CAUSE is before the Court on Defendant Keith Turner’s Amended Motion to

 Dismiss Count I of Plaintiff’s Second Amended Complaint (“Amended Motion,” Doc. 49).

 Plaintiff filed a Response in Opposition to the Amended Motion (“Response,” Doc. 68). As set

 forth below, the Amended Motion will be denied.

                                      I.     LEGAL STANDARD

        Federal Rule of Civil Procedure 8(a)(2) requires a pleading to contain “a short and plain

 statement of the claim showing that the pleader is entitled to relief.” Federal Rule of Civil

 Procedure 10(b) requires a party to “state its claims . . . in numbered paragraphs, each limited as

 far as practicable to a single set of circumstances.” “The failure to identify claims with sufficient

 clarity to enable the defendant to frame a responsive pleading constitutes a ‘shotgun pleading.’”

 Beckwith v. Bellsouth Telecomms. Inc., 146 F. App’x 368, 371 (11th Cir. 2005) (quoting Byrne v.

 Nezhat, 261 F.3d 1075, 1029–30 (11th Cir. 2001)).

        The Eleventh Circuit has defined four types of shotgun pleadings. “The most common

 type—by a long shot—is a complaint containing multiple counts where each count adopts the



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 allegations of all preceding counts, causing each successive count to carry all that came before and

 the last count to be a combination of the entire complaint.” Weiland v. Palm Beach Cty. Sheriff’s

 Office, 792 F.3d 1313, 1321 (11th Cir. 2015). The second most common type “is a complaint that

 . . . is guilty of the venial sin of being replete with conclusory, vague, and immaterial facts not

 obviously connected to any particular cause of action.” Id. at 1322. “The third type of shotgun

 pleading is one that commits the sin of not separating into a different count each cause of action

 or claim for relief.” Id. at 1322–23. “Fourth, and finally, there is the relatively rare sin of asserting

 multiple claims against multiple defendants without specifying which of the defendants are

 responsible for which acts or omissions, or which of the defendants the claim is brought against.”

 Id. at 1323.

                                           II.       ANALYSIS

         Turner appears to allege that the Second Amended Complaint violates the fourth type of

 shotgun complaint. Turner claims that Plaintiff’s allegations against him “include fifty paragraphs,

 twenty-four of which refer to him by name. Of those, twenty-two lump Turner with another

 defendant providing no factual basis to distinguish their conduct and making it virtually impossible

 to ascertain from the Complaint which defendant committed which alleged act.” (Doc. 49 at 2).

         A dismissal under Rules 8(a)(2) and 10(b) is appropriate where “it is virtually impossible

 to know which allegations of fact are intended to support which claim(s) for relief.” Anderson v.

 Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996) (emphasis added).

 No such virtual impossibility exists in this case. The allegations describe Turner’s joint conduct

 with Defendant Dionne, stating both Defendants committed the acts as stated, form the basis of an

 excessive force claim. The one exception, Paragraph 38, alleges “[e]ither Defendant Turner or

 Defendant Dionne stated that he ‘beat [Plaintiff] stupid because she couldn’t clean a toilet.’” (Doc.




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 35 at 9) (emphasis added). This allegation clearly attributes this statement to one of the two

 individually named Defendants in this action.

                                            III.     CONCLUSION

        Because the Second Amended Complaint is not a shotgun pleading, the Amended Motion

 will be denied.

        It is therefore ORDERED and ADJUDGED as follows:

            1. Defendant Turner’s Amended Motion to Dismiss (Doc. 49) is DENIED.

            2. Defendant Turner shall, pursuant to Fed. R. Civ. P. 12(a)(4), file an Answer on or

                   before April 27, 2020.

        DONE and ORDERED in Orlando, Florida on April 13, 2020.




 Copies furnished to:

 Counsel of Record




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